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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,                        Case No. 2:14-CR-200(10)
                                                 JUDGE EDMUND A. SARGUS, JR.
       v.

BULMARO MONTOYA GUERRA,

               Defendant.


                                            ORDER

       This matter is before the Court on the Government’s Motion to Dismiss the Superseding

Bill of Information and Bench Warrant against Bulmaro Montoya Guerra. (ECF No. 995.) The

defendant has been a fugitive since April 4, 2016, the date he was to be sentenced. The government

has been unable to locate the defendant and believes he has fled to Mexico.

       The Superseding Bill of Information and Bench Warrant against Bulmaro Montoya Guerra

is now DISMISSED without prejudice.

       IT IS SO ORDERED.




10/1/2021                                           s/Edmund A. Sargus, Jr.
DATED                                               EDMUND A. SARGUS, JR.
                                                    UNITED STATES DISTRICT JUDGE
